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10
                                   UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12    AALIYAH JOLLY, et al.,                  )   Case No. 5:20-cv-04728
                                              )
13                                            )
                     Petitioners,             )   NOTICE OF MOTION AND
14                                            )   MOTION TO COMPEL
             vs.                              )   ARBITRATION
15                                            )
                                              )   Hearing
16    INTUIT INC.                             )   Date:        August 21, 2020
                                              )   Time:        10:00 am
17                   Respondent.              )
                                              )
18                                            )
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                                    MOTION TO COMPEL ARBITRATION
                                      CASE NUMBER: 5:20-cv-04728
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1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that on August 21, 2020 at 10:00 AM or as soon thereafter as

 3   the matter may be heard, Petitioners will and hereby do move this Court, pursuant to Section 4 of

 4   the Federal Arbitration Act (“FAA”), 9 U.S.C. § 4, for an order compelling Respondent Intuit Inc.

 5   to arbitrate Petitioners’ consumer fraud and antitrust claims against Intuit, in accordance with the

 6   terms of the parties’ arbitration agreement.

 7          Each Petitioner and Intuit entered into an agreement which, as Intuit itself recently insisted

 8   in this district, requires arbitration of the Petitioner’s claims, and arbitration of any threshold

 9   disputes about the proper interpretation of the parties’ agreement and the rules of arbitration the

10   agreement incorporates. Each Petitioner filed an individual demand for arbitration with the

11   American Arbitration Association (“AAA”), the organization that the parties’ agreement states

12   must administer Petitioners’ arbitrations. Intuit repeatedly asked AAA to reject Petitioners’

13   demands, and to determine that Petitioners must bring their claims in court instead of in arbitration.

14   When AAA rejected Intuit’s objections, Intuit sued Petitioners in California state court, seeking to

15   enjoin Petitioners’ arbitrations. Accordingly, Intuit has “fail[ed], neglect[ed], or refus[ed] . . . to

16   arbitrate under a written agreement for arbitration.” 9 U.S.C. § 4. And pursuant to the FAA, this

17   Court should “direct[] that such arbitration proceed in the manner provided for in [the parties’]

18   agreement.” Id.

19          This motion is based on this notice of motion, the attached memorandum of points and

20   authorities, the declaration of Warren Postman, all records on file with this Court, and such further

21   oral and written arguments as may be presented at, or prior to, the hearing on this matter.

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                                  MOTION TO COMPEL ARBITRATION
                                    CASE NUMBER: 5:20-cv-04728
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1    Dated: July 15, 2020               Respectfully submitted,

 2                                      /s/ Warren Postman
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 9                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
10
     AALIYAH JOLLY, et al.,                  )   Case No. 5:20-cv-04728
11                                           )
                                             )
12                  Petitioners,             )   MEMORANDUM OF POINTS AND
                                             )   AUTHORITIES IN SUPPORT OF
13          vs.                              )   MOTION TO COMPEL ARBITRATION
                                             )
14                                           )   Hearing
     INTUIT INC.                             )   Date:        August 21, 2020
15                                           )   Time:        10:00 am
                    Respondent.              )
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                   MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
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1                                     SUMMARY OF ARGUMENT

 2          Petitioners are 5,428 individuals who filed their taxes using TurboTax Online, an Intuit

 3   product. Petitioners were eligible for free tax-filing services through a program offered by the

 4   Free File Alliance—a consortium of tax preparation and filing companies of which Intuit was a

 5   member—which promised to offer free tax filing to the substantial majority of U.S. taxpayers, in

 6   return for the IRS agreeing to not enter the market for online tax-filing services. But instead of

 7   offering Petitioners the free filing services it had promised the IRS, Intuit actively steered

 8   Petitioners to its own commercial website, where it misleadingly told them that they were not

 9   eligible for its “TurboTax Free Edition,” and were instead required to pay fees to file their taxes

10   online through TurboTax.        Through this scheme, Intuit deceived a formidable potential

11   competitor—the United States government—from entering the market for online tax preparation

12   and filing services, and it colluded with the other members of the Free File Alliance to steer

13   taxpayers away from free filing products and to the members’ respective paid products. Petitioners

14   seek to individually arbitrate consumer fraud and antitrust claims against Intuit.

15          Recent proceedings in this district could understandably have left the impression that Intuit

16   would be all too pleased to arbitrate with Petitioners, as Intuit sought to compel a class of

17   consumers, raising claims substantially similar to Petitioners,’ to arbitration. See Intuit’s Mot.

18   Compel, In Re Intuit Free File Litig., No. 3:19-cv-02546-CRB (Oct. 28, 2019), ECF No. 97. That

19   impression would be mistaken. While Intuit told the court in this district that its customers are

20   required to arbitrate their claims, the company tells Petitioners—who demand arbitration—that

21   they must proceed in court. That strategy is unfortunately not new. As another court in this district

22   described it:

23          For decades, the employer-side bar and their employer clients have forced
            arbitration clauses upon workers, thus taking away their right to go to court, and
24
            forced class-action waivers upon them too, thus taking away their ability to join
25          collectively to vindicate common rights. The employer-side bar has succeeded in
            the United States Supreme Court to sustain such provisions. The irony, in this case,
26          is that the workers wish to enforce the very provisions forced on them by seeking,
            even if by the thousands, individual arbitrations, the remnant of procedural rights
27          left to them. The employer here, DoorDash, faced with having to actually honor its
28          side of the bargain, now blanches at the cost of the filing fees it agreed to pay in the

                                          i
                     MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
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1             arbitration clause. No doubt, DoorDash never expected that so many would actually
              seek arbitration. Instead, in irony upon irony, DoorDash now wishes to resort to a
 2            class-wide lawsuit, the very device it denied to the workers, to avoid its duty to
 3            arbitrate.
     Abernathy v. DoorDash, Inc., No. C 19-07545 WHA, 2020 WL 619785, at *4 (N.D. Cal. Feb. 10,
 4
     2020). Companies such as Intuit do not truly view arbitration as a speedy and efficient alternative
 5
     to judicial proceedings for a substantial number of plaintiffs. They wield their arbitration clauses
 6
     to shield them from liability, with no intention of complying with the contract they drafted if
 7
     thousands of aggrieved consumers actually retain counsel and individually arbitrate their claims.
 8
     This heads-we-win-tails-you-lose approach cannot be reconciled with the Federal Arbitration Act
 9
     (“FAA”), which requires that arbitration agreements be strictly enforced according to their terms.
10
              Petitioners filed individual demands for arbitration against Intuit, invoking the arbitration
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     agreement included within Intuit’s Terms of Use (the “TERMS”). The agreement requires
12
     individual arbitration, administered by the American Arbitration Association (“AAA”) under
13
     AAA’s Consumer Arbitration Rules, of “any dispute or claim relating in any way to the services”
14
     offered on TurboTax’s website. See Decl. of Warren Postman, Ex. B. AAA’s rules, in turn, dictate
15
     that before an individual arbitrator has been appointed, or where a rule does not involve the
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     “arbitrator’s powers and duties,” the rules “shall be interpreted and applied by the AAA.”
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     Consumer Rule 53.1 The rules also include a delegation clause, which states that an “arbitrator
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     shall have the power to rule on his or her own jurisdiction, including any objections with respect
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     to the existence, scope, or validity of the arbitration agreement or to the arbitrability of any claim
20
     or counterclaim.” Consumer Rule 14(a).
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              AAA made a binding determination that each Petitioner’s arbitration demand met AAA’s
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     filing requirements, and it began administering each Petitioner’s individual arbitration. But rather
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     than proceed with Petitioners’ arbitrations, Intuit waged a months-long campaign to avoid
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     arbitration. It objected to the merits of Petitioners’ claims, the form of Petitioners’ demands, the
25
     method by which Petitioners filed their demands, AAA’s ability to neutrally administer the
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     arbitrations, and the amount of fees Intuit is required to pay under the terms of its agreement. See
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28       Available at https://adr.org/sites/default/files/Consumer_Rules_Web_1.pdf.

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                      MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
                               CASE NUMBER: 5:20-cv-04728
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1    generally Postman Decl., Ex. D. Intuit also repeatedly argued that under the terms of the

 2   arbitration agreement and AAA’s rules, it may elect to force Petitioners’ demands out of arbitration

 3   and into small claims court. See id.

 4          AAA rejected each of Intuit’s arguments, determining that these objections must be

 5   decided by individual arbitrators. Intuit paid the initial filing fees necessary for each Petitioner’s

 6   arbitration to proceed.    But then, rather than accepting AAA’s determinations, Intuit sued

 7   Petitioners in California state court, seeking declaratory relief on questions that Intuit’s agreement

 8   says only an arbitrator may answer. Intuit’s lawsuit seeks: (i) a declaration and injunction that

 9   Petitioners may not proceed in arbitration and must proceed in court, and (ii) a declaration that

10   Petitioners seek “de facto” class or representative arbitration barred by the TERMS. Intuit also

11   seeks a declaration that California Senate Bill 707, which imposes sanctions on a “drafting party”

12   that fails to pay the fees necessary for arbitration to proceed under a consumer arbitration

13   agreement, is preempted by the Federal Arbitration Act (“FAA”). See generally Intuit’s Compl.,

14   Postman Decl., Ex. E.

15          Intuit has breached its agreement by refusing to arbitrate and by asking a court to resolve

16   disputes that have been delegated to an arbitrator. Accordingly, this Court should compel Intuit to

17   arbitrate Petitioners’ claims under the FAA, which announces a simple test. When (i) the parties

18   have entered into a valid arbitration agreement, (ii) the arbitration agreement covers the parties’

19   dispute, and (iii) one party has refused to arbitrate, federal courts must enforce the arbitration

20   clause according to its terms. See 9 U.S.C. § 4; Howsam v. Dean Witter Reynolds, Inc., 537 U.S.

21   79, 83–84 (2002). That test is easily satisfied here.

22          First, every Petitioner completed the steps required to sign in to use Intuit’s TurboTax

23   Online tax preparation and filing services—the same steps Intuit has repeatedly claimed are

24   sufficient to bind its customers to the arbitration agreement—and has properly filed a demand to

25   arbitrate under that agreement. See Intuit’s Mot. Compel, In Re Intuit Free File Litig.; Intuit’s

26   Mot. Compel, Callaway v. Intuit Inc., No. 19CV354484 (Cal. Super. Ct. Oct. 10, 2019), Postman

27   Decl., Ex. H; Intuit’s Mot. Compel, Macklin v. Intuit Inc., No. 19CV347208 (Cal. Super. Ct. Oct.

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1    10, 2019), Postman Decl., Ex. I. Intuit has conceded that each Petitioner may invoke the agreement

 2   in asserting his or her claims. See Intuit’s Compl. ¶ 87, id., Ex. E.

 3           Second, Intuit’s arbitration agreement indisputably covers Petitioners’ underlying

 4   consumer fraud and antitrust claims. And by incorporating AAA’s rules, including the delegation

 5   provision, the parties’ arbitration agreement also covers all disputes about the form and substance

 6   of Petitioners’ arbitration demands, Intuit’s interpretation of the agreement, or whether AAA’s

 7   rules allow Intuit to force Petitioners’ claims out of arbitration and into court. As Intuit itself

 8   recently asserted in this district: “[A]n arbitrator—and not this Court—must decide threshold

 9   questions of arbitrability, including questions of scope and enforceability.” Intuit’s Mot. at 11, In

10   Re Intuit Free File Litig.

11           Third, Intuit has refused to arbitrate. Intuit repeatedly asked AAA to close Petitioners’

12   arbitrations and force Petitioners’ claims into court. When AAA rejected Intuit’s arguments,

13   determining that those arguments are reserved for individual arbitrators under the delegation clause

14   incorporated by the parties’ arbitration agreement, Intuit sued Petitioners—its own customers—in

15   California state court. Intuit has used that lawsuit to extract from AAA a 30-day stay of Petitioners’

16   arbitrations, it has sought an additional stay from AAA, and it has asked the state court to

17   permanently enjoin Petitioners’ arbitrations and declare that Intuit can force Petitioners’ claims

18   out of arbitration and into court. It is well-established that such conduct constitutes a refusal to

19   arbitrate under the FAA. See, e.g., Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460

20   U.S. 1, 4–5 (1983) (concluding that a party refused to arbitrate when it filed a state court action

21   (i) asserting various defenses to arbitration, (ii) seeking a declaration that its counterparty had no

22   right to arbitrate, and (iii) seeking a stay of arbitration).

23           This Court should accordingly issue an “order directing that such arbitration proceed in the

24   manner provided for in such agreement.” 9 U.S.C. § 4. The parties’ agreement requires Intuit to

25   arbitrate not only Petitioners’ underlying claims, but also Intuit’s objections to proceeding with

26   Petitioners’ arbitrations. See Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 70 (2010). This Court

27   should thus order Intuit to arbitrate the parties’ disputes in accordance with their arbitration

28   agreement, making clear that Intuit must raise any arbitrability arguments—including its argument

                                           iv
                      MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
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1    that the parties’ agreement allows it to unilaterally elect to litigate Petitioners’ claims in court

 2   rather than in arbitration—before individual arbitrators, and must therefore comply with AAA’s

 3   administrative determinations so that individual arbitrators may be appointed. See Lifescan, Inc.

 4   v. Premier Diabetic Servs., Inc, 363 F.3d 1010, 1011–13 (9th Cir. 2004) (conclusively deferring

 5   to AAA’s administrative determination).

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                    MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
                             CASE NUMBER: 5:20-cv-04728
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1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2                                          I.    BACKGROUND

 3   A.      Intuit Imposes a Broad Arbitration Agreement on Its Customers.

 4           Intuit recently explained in a motion to compel a class of consumers to arbitration that each

 5   TurboTax customer is required to accept an arbitration agreement to use TurboTax’s platform. See

 6   Intuit’s Mot. Compel at 1, In Re Intuit Free File Litig. To access TurboTax Online during the

 7   relevant period, Intuit’s customers were required to either create an Intuit account or sign into an

 8   existing account. See Sun Decl. ¶ 4, In Re Intuit Free File Litig., ECF No. 97-2. When customers

 9   signed into their accounts, they clicked a button acknowledging that they “agree to the TurboTax

10   Terms of Use.” Id. ¶ 5. TurboTax’s website further contained hyperlinked text leading customers

11   to TurboTax’s terms of use (the “TERMS”). See id. ¶ 6. And the TERMS contained an arbitration

12   agreement. See id., Ex. 1; Postman Decl., Ex. B. Each Petitioner used TurboTax Online to file

13   his or her taxes, and therefore was required to complete the above process. See Postman Decl. ¶

14   7; id., Ex. A.

15           The TERMS provide that “[a]ny dispute or claim relating in any way to the services or this

16   agreement will be resolved by binding arbitration, rather than in court, except that you may assert

17   claims in small claims court if your claims qualify.” TERMS § 14 (emphasis added).2 The

18   arbitration must be individual: Both the customer and Intuit “waive the right to participate in a

19   class action or litigate on a class-wide basis,” and both the customer and Intuit agree that they will

20   not bring a dispute as a “representative proceeding.” Id.

21           The TERMS also provide that each customer’s arbitration “shall be conducted by the

22   American Arbitration Association (AAA) before a single AAA arbitrator under the AAA’s rules.”3

23   Id. By designating AAA’s Rules to govern disputes, Intuit and its customers have “made th[o]se

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     2
       After Petitioners filed their demands for arbitration, Intuit revised the TERMS applicable for the
25   most recent tax year to give both parties the right to remove arbitrations to small-claims court.
     See, tax year 2019 TERMS § 14, available at https://turbotax.intuit.com/corp/license/online/. The
26   TERMS governing Petitioners were substantively the same over all relevant time periods. For
     convenience, Petitioners will cite and quote the TERMS applicable to tax year 2018, as cited by
27   Intuit in its motion to compel.
     3
28     Available at https://adr.org/sites/default/files/Consumer_Rules_Web_1.pdf.


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1    [rules] a part of their arbitration agreement,” and thereby “authorize the AAA to administer the

 2   arbitration.” Consumer Rules 1(a), (b). However, “[t]he consumer and the business may agree to

 3   change [AAA’s] Rules . . . in writing.” Consumer Rule 1(c). Before an individual arbitrator has

 4   been appointed, or where a rule does not involve the “arbitrator’s powers and duties,” the rules

 5   “shall be interpreted and applied by the AAA.” Consumer Rule 53. Once an individual arbitrator

 6   is appointed, “[t]he arbitrator shall interpret and apply the[] rules as they relate to the arbitrator’s

 7   powers and duties.” Id. The arbitrator also has exclusive authority over disputes regarding (i) a

 8   party’s obligation to commence arbitration, or (ii) the proper interpretation of an agreement: The

 9   “arbitrator shall have the power to rule on his or her own jurisdiction, including any objections

10   with respect to the existence, scope, or validity of the arbitration agreement or to the arbitrability

11   of any claim or counterclaim.” Consumer Rule 14(a).

12          Finally, the TERMS state that “[p]ayment of all filing, administration and arbitrator fees

13   and costs will be governed by the AAA’s rules, but if you are unable to pay any of them, Intuit

14   will pay them for you.” Id. AAA “charges fees to compensate it for the cost of providing

15   administrative services,” and it may “require the parties to deposit in advance of any hearings such

16   sums of money as it decides are necessary to cover the expense of the arbitration, including the

17   arbitrator’s fee.” Consumer Rules 4, 6. The Consumer Rules include a “fee schedule” that governs

18   arbitration filing fees and arbitrator fees. Consumer Rule 4. The fee schedule applicable to

19   Petitioners’ arbitrations imposes a $200 nonrefundable filing fee on each consumer and a $300

20   nonrefundable filing fee on Intuit. See Costs of Arbitration, AAA Consumer Rules at 33. The fee

21   schedule further imposes a $1,400 “case management” fee and a $1,500 “arbitrator compensation”

22   fee on the respondent company, to be paid as AAA initiates consumers’ cases. See id.

23          Intuit has repeatedly relied on the TERMS and the AAA rules the TERMS incorporate, to

24   force its customers’ claims into arbitration, including recently in this district. See Intuit’s Mot.

25   Compel, In Re Intuit Free File Litig.; Intuit’s Mot. Compel, Callaway; Intuit’s Mot. Compel,

26   Macklin. In doing so, Intuit argued that both its customers’ underlying claims and any arguments

27   about whether to require arbitration must be submitted to an arbitrator “because the parties agreed

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                     MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
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1    to delegate the threshold questions of arbitrability to the arbitrator.” Intuit’s Mot. Compel at 9, In

 2   Re Intuit Free File Litig.

 3   B.      Petitioners File Arbitration Demands That Meet AAA’s Filing Requirements.

 4           On October 1, 2019 and January 28, 2020, undersigned counsel filed demands for

 5   arbitration on behalf of 10,497 Intuit customers, including Petitioners.4 See Postman Decl. ¶ 11.

 6   Each demand was submitted on AAA’s official demand form, contained each claimant’s individual

 7   contact information, described each claimant’s individual claims, and requested individual relief.

 8   See id., Ex. C. Intuit has admitted that Petitioners’ demands are “consistent with the procedural

 9   requirements of the TurboTax arbitration agreement.” Intuit’s Mot. at 11 n.5, In Re Intuit Free

10   File Litig. (referencing Petitioners’ arbitration demands, in seeking to compel a class of Intuit

11   customers to arbitration). AAA determined that each Petitioner’s demand met AAA’s filing

12   requirements, and it invoiced Intuit for its administrative filing fees so that the arbitrations could

13   move forward. See Postman Decl. ¶ 14. 5

14           In response, while concurrently seeking in this district to compel a class of its customers

15   to arbitration, Intuit undertook a months-long campaign to avoid commencing Petitioners’

16   arbitrations. See generally id., Ex. D. The company objected to the merits of Petitioners’ claims,

17   see id. at 1–4, 8–13, 19–23 (letters of Feb. 10, Feb. 18, and Mar. 13), the form of Petitioners’

18   demands, see id. at 1–4 (letter of Feb, 10), the method by which Petitioners filed their demands,

19   see id., and the fact that “the arbitration fees alone” to begin arbitrating Petitioners’ claims “would

20   dwarf the total amount paid by these claimants to file their taxes using a TurboTax product,” see

21   id. at 1–4, 8–13, 19–23, 42–44 (letters of Feb. 10, Feb. 18, Mar. 13, May 12). Intuit even suggested

22   that AAA could not remain neutral because it had a pecuniary interest in collecting administrative

23   fees—the very fees required by the published fee schedule and rules Intuit chose when it drafted

24   its arbitration agreement. See id. at 19–23, 42–44 (letters of Mar. 13 and May 12). And it sent a

25   letter to AAA’s General Counsel threatening AAA with “legal risk” if it did not reverse its

26   4
       On July 15, 2020, Petitioners amended their arbitration demands to add antitrust claims against
     Intuit under the Sherman Act, 15 U.S.C. §§ 1, 2.
27   5
       Petitioners’ counsel recently filed demands for arbitration on behalf of nearly 35,000 additional
28   Intuit customers.

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1    interpretation of the AAA Rules. See id. at 42–44 (letter of May 12). Intuit did not, however,

 2   dispute that Petitioners could invoke the TERMS’s arbitration agreement to pursue their claims.

 3             Of all Intuit’s objections, its most vigorous, oft-repeated argument was that it could invoke

 4   AAA Consumer Rule 9(b) to force Petitioners out of arbitration and into small claims court. See

 5   id. at 1–4, 8–13, 19–23, 31–34, 42–44 (letters of Feb. 10, Feb. 18, Mar. 13, Apr. 20, and May 12).

 6   Consumer Rule 9(b) states:

 7             If a party’s claim is within the jurisdiction of a small claims court, either party may
               choose to take the claim to that court instead of arbitration as follows:
 8

 9             (a) The parties may take their claims to small claims court without first filing with
               the AAA.
10
               (b) After a case is filed with the AAA, but before the arbitrator is formally appointed
11             to the case by the AAA, a party can send a written notice to the opposing party and
               the AAA that it wants the case decided by a small claims court. After receiving this
12
               notice, the AAA will administratively close the case.
13
               (c) After the arbitrator is appointed, if a party wants to take the case to small claims
14             court and notifies the opposing party and the AAA, it is up to the arbitrator to
               determine if the case should be decided in arbitration or if the arbitration case
15             should be closed and the dispute decided in small claims court.
16   Commercial Rule 9. The TERMS governing Petitioners’ arbitrations, however, differ from
17   Consumer Rule 9(b) in an important respect: They provide the small-claims option only to Intuit’s
18   customers, not Intuit. See TERMS § 14 (stating that “[a]ny dispute or claim relating in any way
19   to the services or this agreement will be resolved by binding arbitration, rather than in court, except
20   that you may assert claims in small claims court if your claims qualify” (emphasis added)).
21             To avoid application of that plain language, Intuit argued that the TERMS cannot prevent
22   the company from forcing Petitioners out of arbitration and into court because such a reading
23   would violate Principle 5 of AAA’s Due Process Protocol. See Postman Decl., Ex. D at 8–13
24   (letter of Feb. 18). Principle 5 states that “Consumer ADR Agreements should make it clear that
25   all parties retain the right to seek relief in a small claims court for disputes or claims within the
26   scope of its jurisdiction.” Due Process Principle 5 (emphasis added).6 AAA will only administer
27
     6
28       Available at https://kl.link/3ihjJsc.

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1    an arbitration “if the AAA determines the [parties’] agreement substantially and materially

 2   complies with the due process standards.” Consumer Rule 1(d).

 3             Intuit also framed its small claims court argument as beneficial for both the company and

 4   Petitioners. See Postman Decl., Ex. D at 2, 4–5 (letter of Feb. 18). But even a cursory review of

 5   the rules and procedures governing small-claims court in most states reveals why Intuit is so eager

 6   to avoid arbitration and litigate Petitioners’ claims: Small-claims court is a decidedly inferior

 7   forum for Petitioners, and far more favorable to Intuit. For instance, in California, a plaintiff in

 8   small-claims court generally cannot be represented by an attorney. See Small Claims Court: Basic

 9   Considerations and Questions.7 The plaintiff must present his or her case at an in-person court

10   hearing, unlike in arbitration, which may be decided on the papers. See id.; see also TERMS § 14.

11   And most significantly, a defendant that loses in California small claims court has an automatic

12   right of appeal, de novo, to California Superior Court while a plaintiff who loses generally has no

13   appeal rights. See Small Claims Appeals.8 By contrast, both parties to an arbitration may

14   challenge an award, but only on very narrow grounds. See 9 U.S.C, § 10. In sum, by forcing

15   Petitioners’ claims out of arbitration and into small-claims court, Intuit would gain a free shot at

16   each Petitioner’s case, would eliminate Petitioners’ ability to have counsel argue their claims, and

17   would save itself the arbitration fees and costs that it agreed to pay, while imposing significant

18   burdens on Petitioners, who would be required to argue their own claims at in-person hearings.

19             To preserve their right to arbitration, Petitioners asked AAA to reject Intuit’s small claims

20   argument. Petitioners first noted that Intuit’s argument turns on an interpretation of the TERMS’s

21   arbitration agreement, i.e., that by saying “you” have a right to elect small-claims court, the

22   TERMS truly meant “we and you.” See TERMS § 14. But by incorporating AAA’s delegation

23   clause, the arbitration agreement requires an arbitrator, not Intuit or a court, to decide what the

24   arbitration agreement means. Petitioners also argued that the plain language of the TERMS’s

25   arbitration agreement reserves the small-claims option only for Intuit’s customers, not for Intuit.

26   To the extent that language could be read to conflict with Consumer Rule 9(b), the Consumer

27   7
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28

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1    Rules state that “[t]he consumer and the business may agree to change these Rules . . . in writing,”

 2   Consumer Rule 1(c), which Petitioners and Intuit have done via the TERMS. Petitioners further

 3   argued that applying the TERMS to prevent Intuit from removing Petitioners’ arbitrations to court

 4   does not conflict with AAA’s Due Process Protocol, which only protects a party’s “right to seek

 5   relief in a small claims court.” Due Process Protocol, Principle 5 (emphasis added). Petitioners,

 6   not Intuit, “seek relief” in these matters. Finally, Petitioners argued that at most, the TERMS are

 7   ambiguous as to whether Intuit can force Petitioners out of arbitration, and as Intuit has repeatedly

 8   argued, the federal policy favoring arbitration requires that any ambiguity be construed in favor of

 9   arbitration. See, e.g., Intuit’s Mot. at 12, In Re Intuit Free File Litig. (“‘[A]ny doubts concerning

10   the scope of arbitrable issues should be resolved in favor of arbitration . . . .’” (quoting Moses H.

11   Cone, 460 U.S. at 24–25)).

12           AAA refused to close Petitioners’ cases in favor of small-claims court. AAA explained

13   that it “views the parties’ disagreement regarding the interpretation and application of the small

14   claims provision in the parties’ arbitration clause, Rule 9 of the Consumer Arbitration Rules, and

15   the AAA’s Consumer Due Process Protocol as an arbitrability dispute,” and thus “will proceed

16   with the administration of these cases so that the issue can be presented to the appointed

17   arbitrators.” See Postman Decl., Ex. D at 35–36 (letter of Apr. 24); see also id. at 17, 29–30 (letters

18   of Mar. 6 and Apr. 9). AAA further confirmed that it “conduct[ed] an administrative review of

19   the parties’ arbitration agreement at the time of filing and determined that it substantially and

20   materially complies with the due process standards of the Consumer Due Process Protocol.” Id.

21   at 35–36 (letter of Apr. 24).

22           Intuit next sought to elevate the parties’ small-claims dispute to AAA’s Administrative

23   Review Counsel (“ARC”). See id. at 19–23 (letter of Mar. 13). However, the ARC only reviews

24   “certain administrative decisions arising in the AAA’s large, complex domestic caseload.” ARC

25   Review Standards.9 Because each Petitioner’s individual arbitration is not large or complex, AAA

26   declined to submit the parties’ dispute to the ARC.10 See Postman Decl., Ex. D at 29–30 (letter of
     9
27     Available at https://kl.link/37LerR7; see also ARC Overview and Guidelines, available
     at https://kl.link/2YkSfde.
28   10
        In addition, the ARC reviews “objections to arbitrators, locale determinations, and whether the

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1    Apr. 9). AAA also declined to appoint a single arbitrator to resolve the small claims dispute as to

 2   all Petitioners in a representative proceeding, which would clearly violate the TERMS’s

 3   representative action waiver. See Postman Decl. ¶ 22. Having rejected all of Intuit’s objections,

 4   AAA imposed a deadline of March 20, 2020, for Intuit to pay the initial filing fees necessary to

 5   commence administration of Petitioners’ arbitrations. See id., Ex. D at 17–18 (letter of Mar. 6).

 6   Intuit paid those fees “under protest.” See id. at 31–34 (letter of Apr. 20).

 7          In accordance with its rules and the TERMS, AAA has continued to administer Petitioners’

 8   cases as “individual arbitrations, with individual parties and case numbers.” See id. at 35–36 (letter

 9   of Apr. 24). As of the filing of this motion, AAA has initiated hundreds of Petitioners’ individual

10   arbitrations—the first step towards assigning individual arbitrators—and has assured the parties

11   that it will initiate the remaining arbitrations in short order. See id. ¶ 28. Under the TERMS and

12   AAA’s rules, Intuit will owe a $1,400 Case Management Fee and a $1,500 Arbitrator Retainer fee

13   for each Petitioner whose arbitration is initiated. See Costs of Arbitration, AAA Consumer Rules

14   at 33. Those fees will be due on a rolling basis in September, October, and November 2020, at

15   which point AAA will assign an arbitrator to each Petitioner’s case. See Postman Decl. ¶ 19; id.,

16   Ex. D at 48–50 (letter of May 27).

17   C.     Intuit Ignores AAA’s Administrative Determinations and Asks A Court to Resolve

18          Issues Delegated to Arbitration By Its Agreement.

19          By agreeing to arbitrate under the AAA rules, Intuit agreed to be bound by AAA’s

20   administrative determinations and to delegate questions of arbitrability to individual arbitrators.

21   See Consumer Rule 14(a). But Intuit refuses to accept AAA’s administrative determinations, and

22   it refuses to accept the consequences of the delegation clause it wrote into the TERMS. On June

23   12, 2020, Intuit sued Petitioners in Los Angeles Superior Court. See generally Intuit’s Compl.,

24   Postman Decl., Ex. E. Intuit’s complaint seeks declaratory and injunctive relief on three grounds,

25   in an effort to halt Petitioners’ arbitrations and force Petitioners out of arbitration and into court.

26   First, Intuit seeks a declaration and injunction that Petitioners may not proceed in arbitration and

27   filing requirements contained in the AAA Rules have been met,” ARC Review Standards at 1,
     none of which are raised by Intuit’s small claims argument. The ARC “is not authorized to make
28   arbitrability determinations.” Id. at 3.

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1    must proceed in court. See Compl. ¶¶ 85–90; id. at 29. Second, Intuit asks for a declaration that

 2   Petitioners seek “de facto” class or representative arbitration barred by the TERMS. See id. ¶¶

 3   99–109; id. at 29. Third, Intuit argues that California Senate Bill 707, which imposes sanctions

 4   on a “drafting party” that fails to pay the fees necessary for arbitration to proceed under a consumer

 5   arbitration agreement, is preempted by the FAA. See id. ¶¶ 91–98; id. at 29. Intuit has used the

 6   lawsuit to extract from AAA a 30-day stay of Petitioners’ arbitrations, under AAA Consumer Rule

 7   1(f). See Postman Decl., Ex. F. And it has asked AAA to extent that stay through September,

 8   though no AAA rule permits such a delay. See id., Ex. G.

 9          Intuit’s declaratory-judgment action violates the TERMS because it asks a court to decide

10   questions that are unambiguously delegated to arbitration, and it ignores AAA determinations that

11   Intuit is required to honor. And Intuit’s request for declaratory relief regarding California Senate

12   Bill 707 is ripe only if Intuit plans to withhold the fees required to proceed with Petitioners’

13   arbitrations. Petitioners therefore seek an order from this Court compelling Intuit to arbitrate in

14   the manner required by the TERMS.

15                         II.    STATEMENT OF ISSUES TO BE DECIDED

16          Whether this Court should compel Intuit to adhere to its arbitration agreement with

17   Petitioners and comply with AAA’s administrative determinations.

18                                          III.    ARGUMENT

19          The FAA requires that courts “enforce [arbitration agreements] according to their terms.”

20   AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011). In service of that mandate, the

21   FAA codifies a party’s right to seek specific performance of an arbitration agreement. See 9 U.S.C.

22   § 4 (stating that a party to an arbitration agreement who is “aggrieved by the alleged failure” of

23   another party to arbitrate may obtain an “order directing that such arbitration proceed in the manner

24   provided for in such agreement.”). Intuit made each Petitioner an offer, when that Petitioner used

25   TurboTax’s online platform, to arbitrate the Petitioner’s disputes arising from his or her use of the

26   platform, and to arbitrate disputes about the proper interpretation of the parties’ agreement and the

27   AAA rules the agreement incorporates. Each Petitioner has accepted that offer and invoked the

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1    agreement to arbitrate claims against Intuit, and Intuit has conceded that the agreement applies to

 2   each Petitioner’s claims.

 3          Petitioners did everything required of them to commence arbitration under the arbitration

 4   agreement and AAA’s rules. AAA made an administrative determination that each Petitioner’s

 5   demand met AAA’s filing requirements. AAA further determined that Intuit’s small claims

 6   argument raises a question of arbitrability delegated to the arbitrator overseeing each individual

 7   Petitioner’s arbitration. The arbitration agreement makes AAA’s rules binding on Intuit, see C&L

 8   Enters., Inc. v. Citizen Band Potawatomi Indian Tribe of Okla., 532 U.S. 411, 419 n.1 (2001)

 9   (holding that when specified by contract, AAA’s Rules “are not secondary interpretive aides that

10   supplement [the] reading of the contract; they are prescriptions incorporated by the express terms

11   of the agreement itself”), and therefore Intuit must comply with AAA’s administrative

12   determinations under those rules, see Lifescan, 363 F.3d at 1011–13 (conclusively deferring to

13   AAA’s administrative determination).

14          But even though Intuit has invoked its TERMS, and the delegation requirement contained

15   therein, to avoid facing claims in this very district, Intuit has refused to arbitrate with Petitioners

16   “in the manner provided for in [its] agreement.” 9 U.S.C. § 4. Intuit justifies its refusal by asserting

17   that Petitioners’ demands are deficient and can be removed to small claims court. But the TERMS

18   do not allow Intuit to decide for itself whether a demand for arbitration is sufficient or what the

19   agreement means. Rather, the TERMS require that those issues be resolved exclusively in

20   arbitration. And under the AAA rules the TERMS incorporate, AAA has the exclusive authority

21   to administer the arbitrations and to interpret the rules before an arbitrator has been appointed.

22   AAA did just that, considering and then rejecting Intuit’s objections. This Court should remedy

23   Intuit’s refusal to accept—as the TERMS require—AAA decisions it does not like.

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1    A.     Intuit and Petitioners are Parties to an Arbitration Agreement That Covers

 2          Petitioners’ Claims and the Parties’ Disputes.

 3          The FAA requires a court to compel arbitration where (i) the parties have entered into a

 4   valid arbitration agreement, and (ii) the arbitration agreement covers the parties’ disputes. See

 5   Howsam, 537 U.S. at 83–84. Where, as here, the parties have delegated to the arbitrator questions

 6   about whether or how the parties must arbitrate, the court need only determine that the parties have

 7   entered into a valid arbitration agreement. See Henry Schein, Inc. v. Archer & White Sales, Inc.,

 8   139 S. Ct. 524, 530 (2019) (“Just as a court may not decide a merits question that the parties have

 9   delegated to an arbitrator, a court may not decide an arbitrability question that the parties have

10   delegated to an arbitrator.”).

11          Each Petitioner used TurboTax Online to file his or her taxes within the applicable

12   limitations period. See Postman Decl. ¶ 7. Thus, Petitioners necessarily completed the steps Intuit

13   claims gave rise to an arbitration agreement “when they each signed into their respective TurboTax

14   accounts.” Intuit’s Mot. at 8, In Re Intuit Free File Litig. By Intuit’s own account, Petitioners and

15   Intuit have agreed that each Petitioner is party to a valid agreement to arbitrate. See Intuit Compl.

16   ¶ 87 (Acknowledging that “Intuit and Defendants contractually agreed” to “individual

17   arbitration”), Postman Decl., Ex. E. Each Petitioner has invoked that agreement to arbitrate

18   consumer fraud and antitrust claims against Intuit. See generally id., Ex. C.

19          That the parties have entered into a valid arbitration agreement is sufficient by itself to

20   compel arbitration, see Schein, 139 S. Ct. at 530, because Intuit’s arbitration agreement delegates

21   to an arbitrator any questions regarding the agreement’s application and scope. See TERMS § 14;

22   AAA Consumer Rule 14(a) (stating that an “arbitrator shall have the power to rule on his or her

23   own jurisdiction, including any objections with respect to the existence, scope, or validity of the

24   arbitration agreement or to the arbitrability of any claim or counterclaim.”). Intuit has argued this

25   very point when attempting to avoid litigating arbitrability questions in court: “[A]n arbitrator—

26   and not this Court—must decide threshold questions of arbitrability, including questions of scope

27   and enforceability.” Intuit’s Mot. Compel at 11, In Re Intuit Free File Litig. Regardless, there is

28   no doubt that both Petitioners’ underlying claims and Intuit’s objections are arbitrable: The parties

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1    agreed to arbitrate “any dispute or claim relating in any way to the services” offered by TurboTax,

 2   TERMS §§ 1, 14, and they agreed that the “arbitrator shall have the power to rule on his or her

 3   own jurisdiction, including any objections with respect to the existence, scope, or validity of the

 4   arbitration agreement or to the arbitrability of any claim or counterclaim,” Consumer Rule 14(a).

 5   B.      Intuit Has Refused to Arbitrate.
 6           Once a court concludes that the parties have entered into a valid arbitration agreement

 7   covering their dispute, the court should compel arbitration if one party has refused to arbitrate. See

 8   9 U.S.C. § 4. Intuit’s conduct before AAA and in state court shows that it has refused to arbitrate,

 9   and will continue to do so until this Court orders it to proceed with Petitioners’ arbitrations.

10           When a party seeks a court order enjoining arbitration, it has refused to arbitrate. A long

11   line of cases follows this common-sense reasoning. See, e.g., Moses H. Cone, 460 U.S. at 4–5

12   (concluding that a party refused to arbitrate when it filed a state court action (i) asserting various

13   defenses to arbitration, (ii) seeking declarations that its counterparty had no right to arbitrate, and

14   (iii) seeking a stay of arbitration); Jones v. Gen. Motors Corp., 640 F. Supp. 2d 1124, 1145 (D.

15   Ariz. 2009) (“[T]he right to compel arbitration accrues once one of the parties takes an unequivocal

16   position that it will not arbitrate . . . . Here, Plaintiff has opposed [the] motion to enforce arbitration

17   on numerous grounds. Plaintiff has thereby resisted arbitration and unambiguously manifested an

18   intention not to arbitrate.” (citations and internal quotation marks omitted)); Allemeier v. Zyppah,

19   Inc., No. CV 18-7437 PA (AGRx), 2018 WL 6038340, at *3 (C.D. Cal. Sept. 21, 2018) (“The

20   Court finds that by repeatedly refusing to pay its portion of the filing fee as determined by the

21   AAA, attempting to compel Petitioner to arbitrate in Nevada, and continuing to oppose arbitration

22   here, [the respondent] has failed or refused to arbitrate.”).

23           Intuit’s conduct goes beyond even those cases. It has repeatedly urged AAA to reject

24   Petitioners’ arbitration demands. It has breached the TERMS by suing Petitioners in state court,

25   impermissibly asking the court to decide questions that the TERMS delegate exclusively to

26   arbitration. See generally Intuit’s Compl., Postman Decl., Ex. E. It has used that lawsuit to delay

27   Petitioners’ arbitrations. See id., Exs. F, G. And it has asked the state court to enjoin Petitioners

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1    arbitrations altogether and force Petitioners to litigate their claims in court. See Intuit’s Compl. at

 2   29. This Court should compel arbitration under Section 4 of the FAA.

 3   C.     Intuit Must Comply With AAA’s Administrative Determinations, and Raise Its

 4          Arguments With Individual Arbitrators.

 5          In its recent motion to compel arbitration in this district, Intuit explained at length that the

 6   TERMS and AAA’s Rules delegate to arbitrators any threshold issues regarding the interpretation

 7   or enforceability of the TERMS or AAA’s rules. See Intuit’s Mot. Compel at 9-11, In Re Intuit

 8   Free File Litig. That agreement to arbitrate gateway disputes “is simply an additional, antecedent

 9   agreement the party seeking arbitration” asks a court to enforce. Rent-A-Ctr., 561 U.S. at 70. And,

10   just “as a court may not decide a merits question that the parties have delegated to an arbitrator, a

11   court may not decide an arbitrability question that the parties have delegated to an arbitrator.”

12   Schein, 139 S. Ct. at 530. Accordingly, while Intuit repeatedly argued to AAA that the TERMS

13   and AAA’s rules allow Intuit to avoid arbitrating Petitioners’ claims, such arguments are not a

14   ground for avoiding arbitration; they are simply threshold disputes that Intuit must arbitrate. AAA

15   determined as much, and has begun initiating Petitioners’ cases. See Postman Decl. ¶ 19. But

16   rather than participating in the arbitral process, Intuit has asked a California state court to rule on

17   the disputes AAA concluded are delegated to arbitrators.

18          Where a party disagrees with AAA’s administrative determinations, it may submit that

19   disagreement to the arbitrator once the arbitrator is appointed. It may not, however, ignore AAA’s

20   determinations and prevent an arbitral appointment in the first place, as Intuit has attempted. The

21   Ninth Circuit’s decision in Lifescan is illustrative. Lifescan involved a AAA arbitration fee dispute

22   between Lifescan and its counterparty, Premier. See 363 F.3d at 1011. AAA had initially

23   determined that the parties should split the fees equally. Id. However, upon learning that Premier

24   was unable to pay its share of fees, AAA reallocated Premier’s fees to Lifescan, with the

25   expectation that Lifescan could recoup its fees as part of any award. Id. Lifescan refused to

26   comply with AAA’s determination, and instead ran to court, obtaining an order compelling

27   Premier to pay the filing fees it had been initially allocated. Id. The Ninth Circuit reversed that

28   order. See id. at 1013. It reasoned that (i) the parties incorporated AAA’s rules; (ii) AAA’s rules

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1    “recognize the arbitrators’ discretion to interpret the scope of their authority”; and (iii) while

 2   AAA’s fee reallocation “may not be an ideal solution to the problem of a party’s failure to pay its

 3   share of the fees,” AAA was well within its discretion to make that determination. Id. at 1012–13.

 4   Accordingly, the parties’ arbitration had “proceeded pursuant to the parties’ agreement and the

 5   rules they incorporated,” and neither Lifescan nor the district court had any basis to ignore AAA’s

 6   determination. Id. Lifescan was required to proceed with arbitration as AAA dictated. Id. at 1013.

 7   An unbroken line of cases confirms this principle. See, e.g., Dealer Comp. Servs., Inc. v. Old

 8   Colony Motors, Inc., 588 F.3d 884, 888 (5th Cir. 2009) (conclusively deferring to AAA’s

 9   administrative determinations, to “preserve[] the flexibility and discretion in the hands of the

10   arbitrators, a policy end the FAA favors”); Williams v. Tully, No. C-02-05687-MMC, 2005 WL

11   645943, at *5 (N.D. Cal. Mar. 18, 2005) (“Once it is determined . . . that the parties are obligated

12   to submit the subject matter of a dispute to arbitration, ‘procedural’ questions which grow out of

13   the dispute and bear on its final disposition should be left to the arbitrator.”).

14           Because Intuit cannot deny that it entered into a valid arbitration agreement covering each

15   Petitioner’s underlying claims and delegating all threshold arbitrability disputes to individual

16   arbitrators, and because Intuit has refused to submit those disputes to arbitration, this Court’s role

17   is clear: It should “enforce the arbitration agreement in accordance with its terms,” Chiron Corp.

18   v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000), and issue an “order directing

19   that such arbitration proceed in the manner provided for in such agreement,” 9 U.S.C. § 4; see also

20   Meyer v. T-Mobile USA Inc., 836 F. Supp. 2d 994, 1006 (N.D. Cal. 2011) (“It was Congress’s

21   clear intent, in the [FAA], to move the parties to an arbitrable dispute out of court and into

22   arbitration as quickly and easily as possible.” (quoting Bell v. Koch Foods of Miss., LLC, 358 Fed.

23   Appx. 498, 500–01 (5th Cir. 2009)). Accordingly, this Court should order that Intuit must raise

24   any arbitrability arguments—including Intuit’s argument that the TERMS allow it to unilaterally

25   elect to litigate Petitioners’ claims in small claims court rather than in arbitration—before

26   individual arbitrators, and must therefore comply with AAA’s administrative determinations so

27   that individual arbitrators may be appointed.

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1                                     IV.    CONCLUSION

 2       For the foregoing reasons, Petitioners’ motion to compel arbitration should be granted.

 3       Dated: July 15, 2020                         Respectfully submitted,

 4                                                     /s/ Warren Postman
                                                       Warren Postman (#330869)
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                 MEMORANDUM ISO MOTION TO COMPEL ARBITRATION
                          CASE NUMBER: 5:20-cv-04728
